        Case 2:22-cv-00209-CJB-MBN Document 1 Filed 01/31/22 Page 1 of 8
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                             UNITED STATES DISTRICT COURT                 u                I   T
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Plaintiff:
                                                                  Division
Dr. Boris Odynocki
Plaintiff pro se
                                                                  Case   No._
         V

Defendants:
                                                                  Jury Trial: Yes
    1. Southern University at New Orleans
    2. Dr. Ray L. Belton
    3. Dr. James Ammons
    4. Dr. Gregory F. Ford



                              ffi                   A CIVIT CASE

ABSTRACT: Plaintiff was granted tenure at SUNO on June 28, L986. At all times he performed
his duties in exemplary fashion. On November 11, 2O2L, Dr. Odynocki was abruptly suspended
with pay from his courses by a notice from Dr. Gregory Ford, Vice-Chancellor for Academic
Affairs. Dr. Odynocki's teaching assignments for the Spring of 2022 were cancelled as well. The
move was justified by Dr. Ford by his desire to do free investigation of numerous complaints
against the plaintiff by the staff and students.
   But at the end of December of 2O2L, Dr. Ford did not know what exactly complaints he was
investigating. Neither was he able to reveal his findings. On January 4,2022, plaintiff discovered
that he was removed from the payroll as well - without a notice! Dr. Odynocki has been
terminated without due process and without cause as required by the University's bylaws and
by the Constitution of the United States. (Amendment lV, Section 1, which shields citizens'
property from arbitrary seizure by the government.) According to the courts, tenure conveys
property rights. ln addition, the Southern University System's own rules require: that "Notice of
termination shall be provided to a tenured member of the faculty, no less than equivalent of
one academic year prior to the effective date of the termination of employment." There was no
such a notice. The plaintiff prays for relief.                                                 f&e


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          Case 2:22-cv-00209-CJB-MBN Document 1 Filed 01/31/22 Page 2 of 8




     I.      The Parties to This ComPlaint

             A. The Plaintiff
Dr. Boris Odynocki

Tenured Associate Professor at SUNO

234 Goldenwood Dr.

Slidell, La7O46L

Tel: 985-649-4844

E-mail Address: odynock@aol.com




              B.   The Defendants:



           Defendant No.1

           Southern University at New Orleans (SUNO)

           A Branch of Southern University System in Louisiana

           5400 Press Dr.

           Tel: 504-286-5000




          Defendant No. 2

          Dr. Ray L. Belton, the President-Chancellor of the Southern University System,

          J.S. Clark   Adm. Bldg.,   4th   floor, Baton Rouge, La 70813.He resides at 18821 Cotton Bay Court,

          Bato n Ro u ge, Lo u i si a n a, 70809. T el:. 225 -421-\LO4; 318-6L7 -2697'




          Defendant No.3

           Dr. James Ammons, chancellor of southern university at New orleans;


 2
          Case 2:22-cv-00209-CJB-MBN Document 1 Filed 01/31/22 Page 3 of 8




          6400 Press Dr. New Orleans, La.7OL26; Tel: 504-286-5311.




          Defendant No 4

          Dr. Gregory F. Ford, Vice-Chancellor for Academic Affairs at SUNO; 6400 Press Dr',


          New Orlean s, La 7OL26, Tel : 504-286-5381. E-mail : Sford@suno.edu.




                                               ,URISD!CT!ON

                                                      L,


Jurisdiction for this action arises under the United States, particularly the First and Fourth Amendments

for denial of Dr. Odynocki's right to due process, under the equal protection and right to freedom of

speech; the Reconstruction Era Civil Rights Act, codified at 42 USC Sec. 1981; Title Vll of the Civil Rights

Act of L964,42 U.S.C. Sec 2000e seq; and the law of the state of Louisiana.

                                                      2.


Jurisdiction over federal lssues is invoked pursuant to 28 U.S.C. Sec 1343   (   ) and 42 U.S.C. Sec. 2000e-


5(f); and over the state law claims pursuant to the Doctrine of Pendant Jurisdiction.

                                                      3.


Declaratory, injunctive, and equitable relief is sought pursuant to 28 U.S.C. Sec. 2001 and 2OO2;42 U'S.C.

Sec. 1981 and 2000e-5(e); and the pendant claims.

                                                      4.


Compensatory and punitive damages are sought pursuant to 42 U.S.C. 1981 et seq and the pendant

claims.




3
         Case 2:22-cv-00209-CJB-MBN Document 1 Filed 01/31/22 Page 4 of 8




                                                        5.


Costs may be awarded pursuant to 42 U.S.C. Sec. 1988 and 2000e-5(k) and Federal Rules of Civil

Procedure, Rule   54.                                   6.


This action properly lies in the Eastern District of Louisiana, pursuant to 28 U.S.C. Sec 1391 (b), because

the claim arose in this judicial district, and pursuantlo 42 U.S.C. Sec. 2000e-5(f) (3) because the unlawful

employment practice was committed in this judicial district.

                                                   tEGAt BASIS:

                                                         7.


Plaintiff is a white American citizen of Russian origin, 80 years old and resident of St. Tammany Parish.

He received tenure as a professor at SUNO by letter of appointment of June 28, 1986 in the Division         of

Social Sciences. (Exhibit 1) According   to   the Bylows ond Regulations of the Board   of Supervisors of the

Southern University, (Bylaws ond Regulations from now on) "tenure is not employment for a specified

term; it is the right to continued employment, subject to dismissal for cause." And further, "Any

appointment, whether temporary, probationary, or tenured, may be terminated for cause. However,

dismissal for cause carries with it the right to a hearing in accordance with principles of due process and

accepted academic practice. (Bylaws ond Regulotions of the Boord, Article Vlll Sect.6l. Tenure conveys

onto the plaintiff property right. [Board of Regents v. Roth, 408 U.S. 564, 568,92 S. Ct.2707,2704, 33          L



Ed.2d s48 (1e76)l

                                                         8.


lf there is a protected property interest, then petitioner has due process rights in his tenured position.

(Roth, 408 U.S. at 569, 92 S. Ct. at27O4l guaranteed by the Constitution of the United States with its

Amendment XlV, Section 1 that reads: "No State... shall deprive any person of life, liberty, or property,

without due process of law; nor deny to any person within its jurisdiction the equal protection of the

laws."



4
          Case 2:22-cv-00209-CJB-MBN Document 1 Filed 01/31/22 Page 5 of 8




                                                         9.


At all times, Dr. Boris Odynocki performed his duties as a tenured professor in an exemplary manner.

                                                         10.


On October 2L,2OZL, a student of Dr. Boris Odynocki, who received a D for her open book, take home

exam, filed a derogatory complaint with the SUNO administration criticizing Dr. Odynocki for speaking

negatively in class of Black colleges and SUNO administration (Exhibit 2)




                                                         11.

Plaintiff responded to some of the charges, but refused to answer others because of their absurd and

insulting content. (Exhibit 3, p.5, email October 25,2O2L 8:42 pm) Also, because the student refused to

discuss her complaint with Dr. Odynocki directly as required by the SUNO rules regulating students'

complaints.

                                                         L2.

Dean Dr. Harrell insisted, however, that all charges must be answered. "While freedom of speech is just

a freedom     -   she wrote   - the appropriateness of the context for a classroom   and its impact on our


students must also be considered for any violation of University's expectations for professional conduct.

(   Exhibit 3, p.6, email fromE Ha rrell @su no.ed u, Ocl 26, 2O2]- 8:52: 23 pm).

                                                         13.


Clearly, Dean Harrell demanded the right to censor Dr. Odynocki's speech in the classroom! The SUNO

administration thereby seeks to abridge and suppress the professor's right to free speech

as specified in the tenure contract. According      to Bylaws and Regulations of Southern University,

"Academic freedom is perceived as the right of members of the academic community freely study,

discuss, investigate, teach, conduct research, and publish as appropriate to         their respective roles and

responsibilities" (Article Vlll, Sect. 1)


 5
        Case 2:22-cv-00209-CJB-MBN Document 1 Filed 01/31/22 Page 6 of 8




                                                     L4,

On Nov. LL,2O2L, Dr. Odynocki was abruptly suspended with pay from teaching all of his courses,

without warning, by notice of suspension from Dr. Gregory Ford, Vice-Chancellor for Academic Affairs.

(Exhibit 4). The teaching assignments scheduled for him to teach in the Spring Semester of 2022 were

hurriedly cancelled as well without explanation.




                                                     15.


On January 4,2022, plaintiff discovered that not only his courses were cancelled, but his name was

removed from the payroll as well - without notice!

                                                     16.


When he contacted Dr. Gregory Ford with a request for an explanation of his (Dr. Odynocki's) status at

SUNO, Dr. Ford ignored him.

                                                     t7.

It becomes obvious that Dr. Odynocki's tenured position had been terminated without a due process

and without a cause as required by his tenure contract. And yet, according to the Bylaws and

Regulations, "tenure appointments are for an indefinite period of time... lt does assure that the

employee will not be dismissed without adequate justification and without due process. (Chapter ll,

Section 2-8, 3).

                                                     18.


lnternal appeals were ignored by Dr. Ray Belton, the President of Southern University, and Dr. James

Ammons, Chancellor of SUNO. (Exhibits 5 and 5)

                                                     19.


Dr. Odynocki's contractual rights as tenured professor at SUNO have been violated in the following non-

excl usive pa rticula rs:



5
            Case 2:22-cv-00209-CJB-MBN Document 1 Filed 01/31/22 Page 7 of 8




    a. Termination      without cause;

    b.      Termination without financial exigency;

    c.      Termination without a reason justified by the Bylaws and Regulations of the Board of

            Supervisors of Southern University System (herein after Bylaws and Regulations of the Board);

    d.      Denial of his right to liberty established by the Bylaws and Regulations of the Board;

    e. Violation of his right to due process by SUNO's failure to follow its own regulations and bylaws
            with regard to termination of Dr. Odynocki's employment;

    f.      Denial without due process Dr. Odynocki'd right to freedom of speech.

       g.    lgnoring the rule that requires: "Notice of termination shall be provided to   a   tenured member

of the faculty no less than the equivalent of one academic year prior to the effective date of termination

of employment". (Bylaws and Regulations of the Board, Chapter ll, Section 2-8, tenured faculty (1), p.

4tl.

                                                        20.

By failing   to follow its own Bylaws and Regulations, by ignoring its own internal appeals process, and

refusal to give Dr. Odynocki all the benefits of his tenure prior to terminating his employment, SUNO has

breached its contractual obligations to the plaintiff.

                                                        2L.


Due to discrimination, retaliation and unfair treatment committed by the defendants, Dr. Odynocki

suffered and continues suffer emotional distress, mental anguish and humiliation.

                                                        22.


By engaging in an     effort to force Dr. Odynockito resign (on December L5,2021, Dr. Ford asked the

plaintiff to retire)due to his race, nationality, and age, SUNO, Dr. Ford and Dr. Harrell have intentionally

or in the alternative, negligently inflicted severe emotional distress on Dr. Odynocki'




7
        Case 2:22-cv-00209-CJB-MBN Document 1 Filed 01/31/22 Page 8 of 8




                                             REt!EF SOUGHT:




                                                    23.

Plaintiff requests that the Court find SUNO, Dr. Ray   L.   Belton, Dr. James Ammons, and Dr. Gregory       F.



Ford, to be in breach of their tenure contract with Dr. Odynocki, to be in violation of his rights as the

U.S. citizen and a tenured member of the SUNO faculty,        that plaintiff be reinstated to his tenured

position in the Department of Social Sciences, or find a suitable alternative position within the     SU


system, that Dr. Odynocki be awarded any back pay and benefits up to the date of his reinstatement, or

in lieu of reinstatement, a lump sum be awarded to him for his future lost wages, and that all other

compensatory and punitive damages to which plaintiff is entitled be awarded to him under both federal

and state laws.




Respectfully submitted by



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 Dr. Boris
 Plaintiff pro se
 234 Goldenwood Dr.
 Slidell, La7O46L
 Tel: 985-549-4844




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